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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

Case No. CV 20-6040-KS Date: October 14, 2021

Title Muoi Van Duong v. Stew Sherman

 

 

Present: The Honorable: Karen L. Stevenson, United States Magistrate Judge

 

 

 

Gay Roberson N/A
Deputy Clerk Court Reporter / Recorder
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:

Proceedings: (INCHAMBERS) ORDER TO SHOW CAUSE RE: NO REPLY FILED

Petitioner Muoi Van Duong initiated this habeas action as a state prisoner proceeding pro
se. At the time Petitioner filed his pending Petition, he was incarcerated at California State Prison,
Corcoran. (Dkt. No. 1.)

On August 2, 2021, Respondent filed an Answer to the Petition. (Dkt. No. 31.) According
to the Proof of Service attached to the Answer, a copy of Respondent’s Answer was placed in the
U.S. Mail for service on Petitioner the day it was filed. (Dkt. No. 31 at 55.) Pursuant to the Court’s
scheduling order, Petitioner’s Reply was then due 30 days after service of Respondent’s Answer.
(Dkt. No. 16 at 3-4.) More than a month has passed since Petitioner’s Reply was due and he has
not filed it or requested an extension of time to do so.

However, the Court notes that Petitioner relocated to a new a address around the time the
Answer was filed. On August 9, 2021, an item of mail addressed to Petitioner at Corcoran was
returned to the Court from the U.S. Postal Service after being refused by the facility. (Dkt. No.
35.) The next day, on August 11, 2021, Petitioner filed a notice of change of address with the
Court. (Dkt. No. 36.) The notice reflected that Petitioner had relocated to a residence in Oxnard,
California. (/d.) On August 17, 2021, two additional items of mail were returned to the Court as
undeliverable from Petitioner’s address at Corcoran. (Dkt. Nos. 37, 38.)

On September 27, 2021, Petitioner resubmitted his change of address and requested the
status of his case. (Dkt No. 39.)

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Petitioner is admonished that the Court does not provide status reports. However, in the
interests of justice — specifically due to the possibility Petitioner did not receive service of
Respondent’s Answer due to the timing of his change of residence — the Court directs the Clerk
to serve a copy of Respondent’s Answer (dkt. no. 31), plus the three items of returned mail
(dkt. nos. 35, 37, 38) on Petitioner at his new address, 1614 Hilaria Street, Oxnard, CA 93030.

Further, Petitioner IS ORDERED TO SHOW CAUSE on or before November 4, 2021,
why the Court should not deem the matter ready for decision and take it under submission without

a reply.

Petitioner may discharge this Order in one of three ways: (1) file and serve his Reply
to Respondent’s Answer on or before November 4, 2021; (2) file and serve a timely request
for an extension of time to file the Reply; or (3) timely notify the Court of his intention not
to file a reply. THE COURT WILL DEEM PETITIONER’S FAILURE TO RESPOND TO
THIS ORDER BY NOVEMBER 4, 2021 AS HIS INTENTION NOT TO FILE A REPLY
AND THE MATTER WILL BE CONSIDERED FULLY SUBMITTED FOR DECISION.

Alternatively, if Petitioner no longer wishes to proceed with this case, he may file a signed
document entitled “Notice of Dismissal” in which he requests the voluntary dismissal of this action
without prejudice.

IT IS SO ORDERED.

Initials of Preparer gr

 

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